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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
SAMUEL PHILBRICK et al.,             )
Plaintiffs,                         )
                                    )
v.                                  )  Civil Action No. 1:19-CV-00773 (JEB)
                                    )
ALEX M. AZAR et al.,                )
Defendants.                         )
____________________________________)


 THE NEW HAMPSHIRE DEPARTMENT OF HEALTH AND HUMAN SERVICES’
UNOPPOSED MOTION TO APPEAR TELEPHONICALLY AT THE AUGUST 28, 2019,
                      STATUS CONFERENCE

       NOW COMES the New Hampshire Department of Health and Human Services, by and

through the New Hampshire Office of the Attorney General, and hereby moves to appear by

telephone at the August 28, 2019, status conference, stating in support as follows:

       1.      Counsel for the New Hampshire Department of Health and Human Services (“NH

DHHS”) are located in Concord, New Hampshire. To personally attend the upcoming status

conference on August 28, 2019, at 10:30 a.m., counsel for NH DHHS would have to travel to the

District of Columbia from Manchester, New Hampshire. Given the hearing is scheduled in the

morning, it would take an overnight stay and entire work day for counsel for NH DHHS to travel

to and from the District of Columbia.

       2.       Given the time and expenses required to personally attend the upcoming status

conference, NH DHHS respectfully requests that it be permitted to appear telephonically at the

August 28, 2019, status conference.

       3.      The Court has the inherent authority to grant this Motion to alter the manner in

which the parties will appear.
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       4.      No party would be harmed by granting this motion, as it is NH DHHS’s

understanding that the hearing scheduled for August 28, 2019, is a status conference only.

Further, permitting NH DHHS to appear telephonically would not cause delay in the Court’s

schedule and would result in the most efficient use of NH DHHS’s resources.

       5.      Counsel for the plaintiff and the federal defendants have been contacted and do

not oppose the relief requested in this motion.

       WHEREFORE, New Hampshire Department of Health and Human Services respectfully

requests that this honorable Court:

       A.      Grant its motion;

       B.      Permit New Hampshire Department of Health and Human Services to appear

       telephonically at the upcoming status conference on August 28, 2019, at 10:30 a.m.; and

       C.      Grant such further relief as may be just and equitable.



                                                        NEW HAMPSHIRE DEPARTMENT OF
                                                        HEALTH AND HUMAN SERVICES

                                                        By its attorney,

                                                        GORDON J. MACDONALD
                                                        ATTORNEY GENERAL

Dated: August 20, 2019                                  /s/Anthony Galdieri
                                                        Anthony J. Galdieri, NH Bar #18594
                                                        Senior Assistant Attorney General
                                                        Lindsey B. Courtney, NH Bar #20671
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent by ECF on August 20, 2019, to
counsel of record.

                                            /s/ Anthony Galdieri




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